                           Case 2:11-cr-00100-ANB Document 126 Filed 09/08/11 Page 1 of 6
"AO 2458 	    (Rev. 06/05) Judgment in a Criminal Case
              Sheet I


                                         UNITED STATES DISTRICT COURT
                          Western                                 District of                                Pennsylvania
          UNITED STATES OF AMERICA                                        JUDGMENT IN A CRIMINAL CASE
                             V.
                   LARRY HATTEN                                           Case Number:                      2: ll-cr-OO I00-00 I
                     alk/a Diablo                                         USM Number:                       09229-068

                                                                                                 Charles J. Porter, Jr., Esquire
                                                                          Defendant's Attorney
THE DEFENDANT:
X pleaded gUilty to count(s)        1 of an information
o pleaded nolo contendere to count(s)
   which was accepted by the court.
o was found guilty on count(s)
   after a plea of not guilty.

The defendant is adjudicated guilty of these offenses:

Title & Section                   Nature of Offense                                                         Offense Ended               Count
21 U.S.C. §846                    Conspiracy to distribute 500 grams or more of cocaine                       11-20-2006                  1




       The defendant is sentenced as provided in pages 2 through          _---:6'--_ of this judgment. The sentence is imposed pursuant to
the Sentencing Reform Act of 1984.
o The defendant has been found not guilty on count(s)
o Count(s) 	                                          is          o   are dismissed on the motion of the United States.

          It is ordered that the defendant must notify the United States attorney for this district within 30 days ofany change of name, residence,
or mai ling address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid. Ifordered to pay restitution,
the defenaant must notify the court and United States attorney of material changes In economic circumstances.




                                                                          Alan N. Bloch, United States District Judge
                          Case 2:11-cr-00100-ANB Document 126 Filed 09/08/11 Page 2 of 6
AD 2458    (Rev. 06/05) Judgment in Criminal Case
           Sheet 2 Imprisonment
                                                                                                   Judgment - Page _.=.2_ of
DEFENDANT:                    LARRY HATTEN
CASE NUMBER:                  2: II-cr-OO 100-00 I


                                                           IMPRISONMENT

        The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a
total term of:


thirty-six (36) months.


     o The court makes the following recommendations to the Bureau of Prisons:



     X The defendant is remanded to the custody of the United States MarshaL

     o The defendant shall surrender to the United States Marshal for this district:
       o 	 at _________ 0 a.m. o p.m. on
       o 	 as notified by the United States Marshal.
     o The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
       o 	 before 2 p.m. on 

             as notified by the United States Marshal. 


       o 	 as notified by the Probation or Pretrial Services Office.

                                                               RETURN
I have executed this judgment as follows:




       Defendant delivered on 	                                                      to

at   _ _ _ _ _ _ _ _ _ _ _ _ _ _ ' with a certified copy of this judgment.



                                                                                                UNITED STATES MARSHAL


                                                                       By
                                                                                            DEPUTY UNITED STATES MARSHAL
AO 245B       (Rev. 06/05) Judgment in a Criminal Case
                              Case
              Sheet 3 - Supervised     2:11-cr-00100-ANB
                                   Release                       Document 126 Filed 09/08/11 Page 3 of 6
                                                                                                           Judgment-Page _..;;;.,3_ of        6
DEFENDANT:                   LARRY HATTEN
CASE NUMBER:                 2: ll-cr-OO 100-00 1
                                                        SUPERVISED RELEASE
Upon release from imprisonment, the defendant shall be on supervised release for a term of:


five (5) years.



X     Within 72 hours of release from the custody of the Bureau of Prisons, the defendant shall report in person to the probation office in the
district to which the defendant is released.
The defendant shall not commit another federal, state or local crime.


X        The defendant shall not possess a firearm or destructive device. (Check, if applicable.)

X        The defendant shall cooperate in the collection of DNA as directed by the probation officer. (Check, if applicable.)

         The defendant shall register with the state sex offender registration agency in the state where the defendant resides, works, or is a
         student, as directed by the probation officer. (Check, if applicable.)
D        The defendant shall participate in an approved program for domestic violence. (Check, if applicable.)
    If this judgment imposes a fine or restitution, it is a condition of supervised release that the defendant pay in accordance with the
Schedule of Payments stieet of this judgment.
     The defendant must comply with the conditions that have been adopted by this court as well as with any additional conditions on the
attached page.

                                         CONDITIONS OF SUPERVISION
    I)    the defendant shall not leave the judicial district in which the defendant is supervised without the permission of the court;
  2)      the defendant shall report to the probation officer as directed by the Court or probation officer and shall submit a truthful and complete
          written report within the first five days of each month;
    3)    the defendant shall answer truthfully all inquiries by the probation officer and shall follow the instructions of the probation officer;
  4)      the defendant shall support his dependents and meet other family responsibilities;
  5)      the defendant shall work regularly at a lawful occupation unless excused by the probation officer for schooling, training, or other
          acceptable reasons;
  6)      the defendant shall notifY the probation officer within seventy-two (72) hours of any change in residence or employment;
  7)      the defendant shall not purchase, possess, use, distribute, or administer any narcotic or other controlled substance, or any
          paraphernalia related to such substances, except as prescribed by a physiCIan;
  8)      the defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered;
  9)      the defendant shall not associate with any persons engaged in criminal activity, and shall not associate with any person convicted of
          a felony unless granted permission to do so by the probation officer;
 10)      the defendant shall permit a probation officer to visit him at any time at home or elsewhere and shall permit confiscation of any
          contraband observed in plain view by the probation officer;
 11)      the defendant shall notifY the probation officer within seventy-two (72) hours of being arrested;
 12)      the defendant shall not enter into any agreement to act as an informer or a special agent of a law enforcement agency without the
          perm iss ion of the court;
 13)      as directed by the probation officer, the defendant shall notify third parties of risks that may be occasioned by the defendant's criminal
          record or ~ersonal history or characteristics, and shall permit the probation officer to make such notifications and to confirm the
          defendant s compliance with such notification requirement.
AO 245B     (Rev. 06/05) Judgment in a Criminal Case
                           Case 2:11-cr-00100-ANB
            Sheet 3A Supervised    Release                   Document 126 Filed 09/08/11 Page 4 of 6
                                                                                                      Judgment-Page _.;!.4_ of          6
DEFENDANT:                LARRY HATTEN 

CASE NUMBER:             2: I ) -cr-OO 100-00 ) 


                                  ADDITIONAL SUPERVISED RELEASE TERMS

The defendant shall participate in a program of testing and, if necessary, treatment for substance abuse as directed by the probation officer
until such time as the defendant is released from the program by the probation officer. Further, the defendant shall be required to
contribute to the cost of services for any such treatment III an amount determined by the probation officer but not to exceed the actual cost.
The defendant shall submit to at least one drug urinalysis within fifteen days after being placed on supervision and to at least two periodic
tests thereafter.
The defendant shall pay to the United States a special assessment of $ 100, which shall be paid forthwith to the Clerk,
U. S. District Court for the Western District of Pennsylvania.
The Court finds that the defendant does not have the ability to pay a fine. Fine in this case is waived.
Upon the imposition of sentence, the defendant was advised of his right of appeal and his right to counsel on appeal.




These conditions are in addition to any other conditions imposed by this Judgment.
Upon finding of a violation of probation or supervised release, I understand that the Court may (l) revoke
supervision, (2) extend the term of supervision, and/or (3) modify the conditions of supervision.

All of the conditions listed in this order have been read to me. I fully understand the conditions and have
been provided a copy of them.




Defendant's Signature                                       Date




U.S. Probation Officer's Signature                           Date
AD 2458   (Rev, 06/05) Judgment in a Criminal Case
          Sheet 5 CriminalCase     2:11-cr-00100-ANB
                             Monetary   Penalties             Document 126 Filed 09/08/11 Page 5 of 6
                                                                                                     Judgment   Page _....:..5_   of    6
DEFENDANT:                      LARRY HATTEN
CASE NUMBER:                    2: ll-cr-OO 100-001
                                           CRIMINAL MONETARY PENALTIES
     The defendant must pay the total criminal monetary penalties under the schedule of payments on Sheet 6.

                     Assessment                                                                             Restitution
TOTALS            $ 100.00                                         $                                    $



o 	 The determination of restitution is deferred until ---.        An Amended Judgment in a Criminal Case (AO 245C) will be entered
    after such determination.

o 	 The defendant must make restitution (including community restitution) to the following payees in the amount listed below.
     If the defendant makes a partial payment, each payee shall receive an approximately proportioned payment, unless specified otherwise in
     the priority order or percentage payment column below. However, pursuant to J 8 U.S.C. § 36640), all nonfederal victims must be paid
     before the United States is paid.

Name of Payee 	                            Total Loss*                        Restitution Ordered                    Priority or Percentage




TOTALS 	                         $ _ _ _ _ _ _---'°:;....                  $-----------~O:;....

o	   Restitution amount ordered pursuant to plea agreement $ _ _ _ _ _ _ _ _ ___

o	   The defendant must pay interest on restitution and a fine of more than $2,500, unless the restitution or fine is paid in full before the
     fifteenth day after the date of the judgment, pursuant to 18 U.S.C. § 3612(t). All of the payment options on Sheet 6 may be subject
     to penalties for delinquency and default, pursuant to 18 U .S.C. § 3612(g).

o	   The court determined that the defendant does not have the ability to pay interest and it is ordered that:

     o 	 the interest requirement is waived for the         fine       0   restitution.

     o 	the interest requirement for the      0    fine        restitution is modified as follows:



* Findings for the total amount oflosses are required under Chapters 109A, J 10, II OA, and I13A of Title 18 for offenses committed on or after
Septemoer 13, 1994, but before April 23, 1996.
AO 2458    (Rev 06/05) Judgment
                          Casein a2:11-cr-00100-ANB
                                   Criminal Case               Document 126 Filed 09/08/11 Page 6 of 6
           Sheet 6 Schedule of Payments

                                                                                                        Judgment    Page _...:::6_ of        6
DEFENDANT:                 LARRY HATTEN
CASE NUMBER:              2:11-cr-OOlOO-OOl


                                                  SCHEDULE OF PAYMENTS

Having assessed the defendant's ability to pay, payment of the total criminal monetary penalties are due as follows:

A    X	   Lump sum payment of $ 100.00                    special assessment due immediately, payable to the Clerk, United States District
          Court for the Western District of Pennsylvania.
          o    not later than 	                               , or
          o    in accordance       0 C, 0 D, 0                  E, or   0 F below; or
B    0 	 Payment to begin immediately (may be combined with             0 C,        o D, or      0 F below); or

c    0    Payment in equal                    (e.g., weekly, monthly, quarterly) installments of $                     over a period of
                       (e.g., months or years), to commence                (e.g., 30 or 60 days) after the date of this judgment; or

D         Payment in equal                    (e.g., weekly, monthly, quarterly) installments of $                    over a period of
                       (e.g., months or years), to commence                (e.g., 30 or 60 days) after release from imprisonment to a
          term of supervision; or

E    0 	 Payment during the term of supervised release will commence within                  (e.g., 30 or 60 days) after release from
          imprisonment. The court will set the payment plan based on an assessment of the defendant's ability to pay at that time; or

F    0 	 Special instructions regarding the payment of criminal monetary penalties:




Unless the court has expressly ordered otherwise, ifthis judgment imposes imprisonment, payment ofcriminal monetary penalties is due during
imprisonment. All cnminal monetary penaltie~ except those payments made througl1 the Federal Bureau of Prisons' Inmate Financial
Responsibility Program, are made to the clerk or the court.

The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.




o    Joint and Several

     Defendant and Co-Defendant Names and Case Numbers (including defendant number), Total Amount, Joint and Several Amount,
     and corresponding payee, if appropriate.




o    The defendant shall pay the cost of prosecution.

o    The defendant shall pay the following court cost(s):

o    The defendant shall forfeit the defendant's interest in the following property to the United States:




Payments shall be applied in the following order: (I) assessment, (2) restitution principal, (3) restitution interest, (4) fine principal,
(5) fine interest, (6) community restitution, (7) penalties, and (8) costs, including cost of prosecution and court costs.
